




Filed 11/15/18 by Clerk of Supreme Court

IN THE SUPREME COURT

STATE OF NORTH DAKOTA







2018 ND 246









In the Matter of a Petition to Permit Temporary Provision of Legal Services by Qualified Attorneys From Outside North Dakota









No. 20160436







Per Curiam.



[¶1]	
On January 18, 2017 and October 16, 2017 this Court considered the provision of legal services in criminal cases pending in the South Central Judicial District arising from arrests made during the protests of the Dakota Access Pipeline between August 1, 2016 and until further order of this Court.

[¶2]	
Under the Court’s prior orders, qualified attorneys from outside of North Dakota, and not licensed in North Dakota, were relieved from certain filings and requirements normally needed to appear as pro hac vice counsel under Rule 3(A) of the Admission to Practice Rules. An additional requirement was that an attorney admitted pro hac vice under the Court’s Order must verify in writing to the North Dakota State Board of Law Examiners no later than January 5, 2018, their licensure status and provide a listing of pending cases for which they are acting under the January 18, 2017 Order. 
 

[¶3]	
According to administrative records of the South Central Judicial District, all of the criminal cases arising from arrests made during the protests of the Dakota Access Pipeline have not been completed and will not be completed by the end of 2018. &nbsp;On its own motion, the Court considered the matter, and

[¶4]	
ORDERED, that those attorneys who have qualified under this Court’s previous Orders for applicable criminal cases that will not be completed by December 31, 2018, and prosecution is not delayed due to any outstanding warrants, must verify in writing to the North Dakota State Board of Law Examiners no later than January 7, 2019, their licensure status and provide a listing of the pending cases, not in warrant status, for which they are acting under the January 18, 2017 Order.

[¶5]	
IT IS FURTHER ORDERED, that the special pro hac vice provisions under the January 28, 2017 Order will expire December 31, 2019. &nbsp;Thereafter, pro hac vice counsel in these matters must comply with all requirements in Rule 3(A) of the North Dakota Admission to Practice Rules.
 

[¶6]	Gerald W. VandeWalle, C.J.

Daniel J. Crothers

Jerod E. Tufte

Lisa Fair McEvers

Jon J. Jensen


